Case 2:19-cv-00496-SPC-NPM Document 1 Filed 07/18/19 Page 1 of 9 PageID 1



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION


 UNITED STATES OF AMERICA,

             Plaintiff,
                                                      Case No. 2:19-cv-496
             v.

 ESTATE OF DEAN R. DANIELSEN,
 through Personal Representative
 Paige A. Showalter,

          Defendant.
 ________________________________/

                                          COMPLAINT

        1.        The United States of America brings this action to collect outstanding civil

 penalties assessed against the Estate of Dean R. Danielsen, through personal representative

 Paige A. Showalter (Danielsen’s daughter and executor of his estate), for the conduct of

 Dean R. Danielsen, deceased, in willfully failing to timely report his financial interests in

 foreign bank accounts, as required by 31 U.S.C. § 5314 and its implementing regulations,

 accrued interest on such penalties, late payment penalties, and associated fees. The United

 States of America alleges as follows:

                                     Jurisdiction and Venue

        2.        The United States brings this suit under 31 U.S.C. §§ 5321(b)(2) and

 3711(g)(4)(C) at the direction of the Attorney General of the United States and at the request

 and with the authorization of the Secretary of the Treasury of the United States.

        3.        The Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1345,

 and 1355 because it arises under a federal statute, the United States is the plaintiff, and the

 action seeks recovery or enforcement of a civil penalty.
Case 2:19-cv-00496-SPC-NPM Document 1 Filed 07/18/19 Page 2 of 9 PageID 2



         4.      Venue is proper in this district under 28 U.S.C. § 1391 because at the time of

 the acts alleged and at the time of his death, Danielsen resided in Fort Myers, Florida, within

 this district, and thus his estate is within this district.

                                  Regulatory Background Regarding
                      Danielsen’s Duty to Report His Foreign Financial Accounts

         5.      Section 5314 of Title 31 of the U.S. Code authorizes the Secretary of the

 Treasury to require United States citizens to report certain transactions with foreign financial

 agencies. Under the statute’s implementing regulations, “[e]ach United States person having

 a financial interest in, or signature or other authority over, a bank, securities, or other

 financial account in a foreign country shall report such relationship” to the IRS for each year

 in which such relationship exists. 31 C.F.R. § 1010.350(a).

         6.      To fulfill this requirement, a person must file a Form TD F 90-22.1, “Report

 of Foreign Bank and Financial Accounts,” commonly known as an “FBAR.” For the years at

 issue, an FBAR was due by June 30 “of each calendar year with respect to foreign financial

 accounts exceeding $10,000 maintained during the previous calendar year.” 31 C.F.R. §

 1010.306(c). An FBAR requires the taxpayer to disclose, among other things, the maximum

 value of each foreign account during the calendar year reported, the type of account, the

 name of the financial institution in which the account is held, the account number, and the

 mailing address of the financial institution in which the account is held. See Form TD F 90-

 22.1.

         7.      Schedule B is an attachment to the individual federal income tax return (Form

 1040) that is used for reporting, among other things, interest and dividend income, as well as

 any financial interest in or signature or other authority over financial accounts located in

 foreign countries. Schedule B refers to the FBAR filing requirement and alerts the taxpayer



                                                   -2-
Case 2:19-cv-00496-SPC-NPM Document 1 Filed 07/18/19 Page 3 of 9 PageID 3



 that if he or she had an interest in or signature or other authority over a financial account

 located in a foreign country the taxpayer should see the instructions for the exceptions and

 filing requirements for Form TD-F 90-22.1.

         8.      Section 5321(a)(5) of Title 31 authorizes the imposition of civil penalties for

 willful failure to comply with the reporting requirements of § 5314. Specifically,

 § 5321(a)(5)(C) provides for a willful penalty equal to the greater of $100,000 or 50% of the

 balance in the account at the time of the violation.

         9.      The penalty set forth under 31 U.S.C. § 5321(a)(5)(C) is subject to interest

 and further penalties pursuant to 31 U.S.C. § 3717.

                 Danielsen’s Willful Failure to Report His Foreign Accounts

         10.     Danielsen was born in the United States and was a United States citizen

 during the years at issue, 2006 through 2009, when he had one or more foreign bank

 accounts.

         11.     Danielsen resided in the United States during the years at issue, from 2006 to

 2010.

         12.     Beginning in 1993, Danielsen began selling Swiss annuities. He learned that

 Liechtenstein stiftungs could be formed for asset protection. “Stiftung” is German for

 “foundation.”

         13.     Danielsen became concerned with asset protection in 1998 when he was sued

 by an individual in the United States.

         14.     To protect his assets, Danielsen formed Sugar Creek Stiftung in 1999.

 Danielsen originally funded Sugar Creek with $200,000 he made selling Swiss annuities,




                                                -3-
Case 2:19-cv-00496-SPC-NPM Document 1 Filed 07/18/19 Page 4 of 9 PageID 4



 which income he did not report to the IRS or pay federal income taxes on. Danielsen was the

 beneficiary of Sugar Creek Stiftung.

        15.     Danielsen, with the assistance of Dr. Wolfgang Strub, the Stiftung’s trustee,

 opened accounts in Sugar Creek’s name at VP Bank in Liechtenstein and Haywood

 Securities in Canada. Strub only acted at Danielsen’s direction regarding Sugar Creek

 investments.

        16.     For tax years 2000 through 2004, when he was living in California, Danielsen

 did not file federal income tax returns.

        17.     Between 2004 and 2013, Danielsen was a money manager and earned more

 than $1 million in most years.

        18.     Between 2003 and 2006, Danielsen transferred $646,294 into Sugar Creek’s

 accounts at VP Bank and Haywood Securities.

        19.     Danielsen omitted more than $12.9 million of income from his unfiled 2003

 and 2004 federal income tax returns, resulting in unpaid taxes of more than $1.9 million.

 Danielsen subsequently filed returns for unfiled tax years when he applied for the Offshore

 Voluntary Disclosure Initiative (OVDI) in 2011. Danielsen opted to withdraw from the

 OVDI in 2013.

        20.     Between 2003 and 2008, Danielsen withdrew $13,639,253 from Sugar

 Creek’s foreign accounts, including wire transfers of $9,599,495 in 2009. Danielsen told the

 IRS that these wire transfers were, inter alia, gifts to relatives and friends as well as to fund

 projects and investments. The funds were wired directly to third parties in the United States.

        21.     Danielsen created Sugar Creek LLC and Sugar Creek Revocable Trust in the

 United States. The Trust was created for the stated benefit of his granddaughter, and if she




                                                -4-
Case 2:19-cv-00496-SPC-NPM Document 1 Filed 07/18/19 Page 5 of 9 PageID 5



 should predecease him, his daughter. Upon his death, Danielsen’s daughter Paige A.

 Showalter, became the trustee of the Sugar Creek Revocable Trust per the terms of the Trust.

        22.       Showalter was also named the executor of Danielsen’s estate in her father’s

 will, which was not probated.

        23.       Showalter asserts that she received no assets from the estate, as there were

 none remaining after payment to the IRS of Danielsen’s income tax debt with Showalter’s

 cooperation. According to Showalter, no assets of the estate remain. The IRS has not located

 assets in the United States at this time but believes that assets may exist that have not yet

 come to light.

        24.       From 2006 through 2010, Danielsen maintained foreign bank accounts in the

 name of Sugar Creek Stiftung at VP Bank in Liechtenstein and Haywood Securities in

 Canada.

        25.       Danielsen was actively involved in his foreign accounts.

        26.       During each of the years 2006 through 2010, the balances in Danielsen’s

 foreign bank accounts exceeded $10,000. Records obtained by the IRS reflect the maximum

 balances of the foreign bank accounts at VP Bank and Haywood Securities in which

 Danielsen had a financial interest as follows:

                           Year           Maximum Aggregate Balance
                           2006                     $17,770,076
                           2007                       $8,321,614
                           2008                       $7,146,675
                           2009                     $11,047,443
                           2010                     $23,146,295




                                                -5-
Case 2:19-cv-00496-SPC-NPM Document 1 Filed 07/18/19 Page 6 of 9 PageID 6



        27.     Danielsen did not file a timely FBAR for any period during which he had a

 financial interest in the VP Bank account.

        28.     Danielsen did not file a timely FBAR for any period during which he had a

 financial interest in the Haywood Securities account.

        29.     Danielsen did timely file FBARs for the 1994 and 1995 calendar years for one

 or more financial accounts. These filings indicate Danielsen’s knowledge of the FBAR filing

 requirement.

        30.     Specifically, Danielsen was required to report his interests in the VP Bank in

 Liechtenstein and Haywood Securities in Canada for 2006 through 2010 by June 30 of 2007,

 2008, 2009, 2010 and 2011, but he failed to do so.

        31.     In 2013, Danielsen untimely submitted FBARs for years 2006 through 2010,

 after applying for the OVDI in 2011.

        32.     Danielsen’s failure to timely file FBARs for 2006 through 2010 to report his

 financial interest in the accounts at VP Bank and Haywood Securities was willful.

        33.     Danielsen filed federal income tax returns for 2006, 2007, and 2010 that

 included a Schedule B—Interest and Ordinary Income. Schedule B, Part III Foreign

 Accounts and Trusts at question 7a requires the filer to answer whether she had an “interest

 in or a signature or other authority over a financial account in foreign country such as a bank

 account.” If the answer is “Yes,” the filer is asked at Question 7b to name the foreign

 country. The filer is referred to the Schedule B instructions at “page B-2 for exceptions and

 filing requirements for Form TD F 90-22.1 [the FBAR].”

        34.     Danielsen’s 2006, 2007, and 2009 income tax returns included a Schedule B,

 Part III, Question 7a, to which he answered “No,” that he did not have a foreign bank




                                              -6-
Case 2:19-cv-00496-SPC-NPM Document 1 Filed 07/18/19 Page 7 of 9 PageID 7



 account.

         35.     Danielsen failed to report on his federal income tax returns his foreign

 investment income for 2006 through 2010. This failure resulted in income tax deficiencies.

         36.     Danielsen’s failure to make disclosures to his return preparer directly resulting

 in the preparation and filing of false income tax returns.

         37.     Each of Danielsen’s federal income tax return for tax years 2006 through 2010

 were filed under penalties of perjury.

         38.     Danielsen died in Fort Myers, Florida on August 25, 2016.

         39.     On September 12, 2016, Showalter signed a Form 2848 Power of Attorney

 and Declaration of Representative, designating her father’s attorney, Mario Fazio, to continue

 to represent the interests of her father, through his estate, after his death.

                                   CLAIM FOR RELIEF:
                           Reduce FBAR Civil Penalties to Judgment

         40.     On August 25, 2017, a delegate of the Secretary of the Treasury timely

 assessed civil penalties against Danielsen pursuant to Section 5321(a)(5) of Title 31 for

 willfully failing to file timely FBAR’s for the years 2006 through 2009 for the foreign bank

 accounts at VP Bank and Haywood Securities in the amounts indicated in the table that

 follows, a provided notice of the penalties in Letter 3709:

                             Year                      FBAR Penalty Amount
                             2006                             $1,366,723
                             2007                             $1,366,723
                             2008                             $1,366,723
                             2009                             $1,366,723
                           TOTAL                              $5,466,892




                                                 -7-
Case 2:19-cv-00496-SPC-NPM Document 1 Filed 07/18/19 Page 8 of 9 PageID 8



        41.      A delegate of the Secretary of the Treasury of the United States sent notice of

 the FBAR penalty assessment against Danielsen for 2006 through 2009 and by Letter 3708 of

 August 25, 2017, and made demand for payment thereof.

        42.      Showalter, through attorney Fazio, did not then, and does not now, dispute the

 FBAR assessments.

        43.      Despite the notice and demand for payment, the Danielsen’s estate has failed

 to pay the penalties assessed against Danielsen. As a result, interest and statutory additions

 continue to accrue.



        44.      As of July 12, 2019, Danielsen, through his estate, for years 2006 through

 2009, owes the United States a total of $6,186,125.29. This includes FBAR penalties of

 $5,466,892 assessed under 31 U.S.C. § 5321, interest of $102,747.61 and penalties for late

 payment of $616,485.68 under 31 U.S.C. § 3717(e)(2). Interest and other additional amounts

 continue to accrue as provided by law.

        45.      The FBAR assessments for 2006 through 2009 against Danielsen were timely

 because Danielsen, through his representative, executed written consent to extend the

 limitations period for the four periods at issue. Danielsen, through his representative,

 executed the last of those consents on or about July 26, 2016, extending the period to assess

 FBAR penalties for 2006 through 2009 to December 31, 2017.

        WHEREFORE, the United States of America requests that the Court:

              a. Enter judgment against the Estate of Dean R. Danielsen, and in favor of the

                 United States in the amount of $6,186,125.29 for the penalties assessed

                 against him for the years 2006 to 2009 under 31 U.S.C. § 5321(a)(5)(C),




                                               -8-
Case 2:19-cv-00496-SPC-NPM Document 1 Filed 07/18/19 Page 9 of 9 PageID 9



               accrued interest on such penalties, late payment penalties, plus further interest

               and statutory additions thereon as allowed by law from July 12, 2019, to the

               date of payment; and

           b. Award the United States its costs incurred in connection with this action,

               along with such other relief as justice requires.

                                              Respectfully submitted,

 Date: July 18, 2019                          RICHARD E. ZUCKERMAN
                                              Principal Deputy Assistant Attorney General

                                      By:     /s/ Valerie G. Preiss
                                              VALERIE G. PREISS
                                              Trial Attorney, Tax Division
                                              U.S. Department of Justice
                                              Post Office Box 14198
                                              Washington, D.C. 20044
                                              Telephone: (202) 514-6475
                                              Fax: (202) 514-9868
                                              Valerie.G.Preiss@usdoj.gov

                                              Of Counsel:
                                              MARIA CHAPA LOPEZ
                                              United States Attorney




                                              -9-
